           Case 1:14-cr-00045-AWI-BAM Document 48 Filed 05/22/15 Page 1 of 2


 1   DALE A. BLICKENSTAFF - #40681
     Attorney At Law
 2   7081 N. Marks Avenue, # 104
     Fresno, California 93711
 3   (559) 389-0239 Telephone
     (559) 436-0207 Facsimile
 4   Email: dblickenstaff@yahoo.com
 5
     Attorney for Defendant,
 6   JORGE PEREZ ROBLES

 7

 8                              UNITED STATES DISTRICT COURT
 9                             EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                      )   Case No.: 1:14-CR-00045-002
                                                    )
12                                                  )   STIPULATION AND ORDER TO
                           Plaintiff,               )   CONTINUE DATE FOR SURRENDER
13                                                  )   FOR SERVICE OF SENTENCE
     vs.                                            )
14                                                  )
     JORGE PEREZ ROBLES,                            )
15                                                  )
                                                    )
16                         Defendant                )
                                                    )
17

18          It is hereby Stipulated, by and between the parties hereto, through their respective

19   counsel, Kathleen Servatious, counsel for the United States and Dale A. Blickenstaff, counsel for

20   the Defendant JORGE PEREZ ROBLES, that the date for surrender for service of sentence

21   currently set for May 26, 2015, be continued or reset to June 9, 2015 before 2:00 p.m.

22          The reason for this request is that the Defendant learned for the first time on May 21,

23   2015, that he was designated by the Bureau of Prisons to River Correctional Institution near

24   Winton, North Carolina. The surrender date fails to give Defendant enough time to make travel

25   arrangements and get himself to the prison in a timely manner. Approximately, two weeks are

26   necessary to make the travel arrangements.

27   Dated: May 21, 2015

28                                                By /S/ Dale A. Blickenstaff____________
           Case 1:14-cr-00045-AWI-BAM Document 48 Filed 05/22/15 Page 2 of 2


 1                                              DALE A BLICKENSTAFF, Attorney for
                                                Defendant, JORGE PEREZ ROBLES
 2
     Dated: May 21, 2015
 3
                                             By /S/ Henry Carbajal on behalf of Kathleen Servatious
 4                                              KATHLEEN SERVATIOUS, Attorney for
 5
                                                Plaintiff, UNITED STATES OF AMERICA

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 7
                                                ORDER
 8
            IT IS ORDERED that the surrender date for service of sentenced shall be June 9, 2015, at
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10
     2:00 p.m.

11
     IT IS SO ORDERED.
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     Dated: May 22, 2015
                                               SENIOR DISTRICT JUDGE
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